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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                                www.flsb.uscourts.gov

In re:                                            Case No.: 18-14821-LMI

WILL ZAMORA,                                      Chapter 7

         Debtor.
                                              /

             CREDITOR TIMOTHY MOSLEY’S EMERGENCY EX-PARTE
                        MOTION TO REINSTATE CASE

                             Local Rule 9075-1 Statement of Exigency

              On April 25, 2018, the Debtor filed this case as a voluntary chapter
              13 with nothing but a bare-bones petition without any schedules,
              creditor matrix or other requirements for a chapter 13. On April 26,
              2018, the clerk’s office issued its usual notice of incomplete filings
              [ECF 3]. As a result of the Debtor’s conduct, including the failure to
              file any of the materials required at ECF 3, and after several hearings
              culminating in an evidentiary hearing, on October 4, 2018, the Court
              entered its Order Converting Case to Chapter 7 [ECF 59]. The case
              is now a chapter 7 being administered by a chapter 7 trustee with a
              section 341 meeting of creditors scheduled for November 6, 2018
              [ECF 59-1]. Mosley has been providing information to the chapter 7
              trustee and fought hard for the conversion.

              On October 24, 2018, the Court entered its standard chapter 13
              dismissal order which dismisses this case with a 180 prejudice period
              based on the Debtor’s failure to file any schedules, creditor matrix,
              or anything else in this case [ECF 72]. This order appears to have
              been an administrative error. Mosley asks the Court to consider the
              present motion to reinstate on an emergency basis given that the 341
              meeting of creditors is scheduled for November 6, 2018, less than
              two weeks away. Given that the Order at ECF 72 appears to have
              been entered in error as an administrative matter, Mosley asks that
              the Court consider this on an ex-parte basis as well and to
              immediately enter an order reinstating this case. Alternatively,
              Mosley asks for a hearing on this matter prior to October 30, 2018.




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          Creditor Timothy Mosley (“Mosley”) asks the Court to reinstate this case immediately, and
states:
          1.     On April 25, 2018, the Debtor filed this case as a bare-bones, petition-only chapter
13 [ECF 1]. On April 26, 2018, the Clerk’s office issued is usual notice of incomplete filings [ECF
3]. There have been several hearings in this matter, which culminated in an evidentiary hearing
on October 2, 2018, after which the Court entered its Order Converting Case to Chapter 7 on
October 4, 2018 [ECF 59]. A chapter 7 trustee was duly appointed and a section 341 meeting of
creditors is scheduled for November 6, 2018 [ECF 59-1]. The chapter 7 trustee has hired counsel
[ECF 70] and the chapter 13 trustee filed her final report [ECF 66] and was discharged [ECF 67].
          2.     On October 24, 2018, the Court entered its standard chapter 13 dismissal order
based on the Debtor having not cured the chapter 13 deficiencies at ECF 3 [ECF 72]. The October
24, 2018 order appears to have been entered as an administrative error given the matter was
converted to a chapter 7 several weeks ago, and is no longer a chapter 13 case. Mosley asks the
Court to reinstate this case immediately given the imminency of the section 341 meeting of
creditors and the fact that the chapter 7 trustee and Mosley are presently working on collecting
assets of this case.
          3.     While Local Rule 9013-1(C) does not list this type of motion as one to be
considered on an ex-parte basis, Mosley asks that the Court consider this matter without a hearing
and to reinstate this case immediately. The October 24 order appears to have been entered as an
administrative mistake, and without any notice to anyone. That order can be accordingly undone
in the same manner. There are no grounds to oppose the relief sought in this instant motion. If
the Court does not agree with this contention, then Mosley asks the Court to immediately set a
hearing, on or before October 30, 2018, so that the case is reinstated in enough time so that the
section 341 meeting of creditors is not affected, or the Debtor uses this dismissal order as an excuse
not to attend.
          WHEREFORE Creditor Timothy Mosley prays this Honorable Court will enter an order
as soon as possible reinstating this case, and granting such other relief as the Court deems just and
proper.
          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for
the Southern District of Florida, and I am in compliance with the additional qualifications to
practice in this Court as set forth in Local Rule 2090-1(A).



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        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to
the parties listed below in the manner indicated, on this the 25th day of October, 2018.
                                             STEVEN FENDER P.A.

                                             /s/ G. Steven Fender
                                             G. STEVEN FENDER, ESQ.
                                             Florida Bar No. 060992
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    Ross Hartog, Trustee                    rhartog@mrthlaw.com
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